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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 18-01269-JLS-JCGx                                                Date    May 11, 2018
 Title          STM Atlantic N.V., et al. V. Dong Yin Development Holdings Limited, et al.



 Present: The                 JOSEPHINE L. STATON, U.S. DISTRICT JUDGE
 Honorable


                    Terry Guerrero                                           Deborah Parker
                    Deputy Clerk                                       Court Reporter / Recorder


            Attorneys Present for Plaintiff(s):                  Attorneys Present for Intervenor(s):

                      Jeffrey Isaacs                                        Charles Kreindler
                    Jerome Friedberg                                         Travis Anderson
                                                                            Jennifer Redmond


 Proceedings:         Hearing on Plaintiffs' Motion for Judicial Determination [29]




       Matter called. Counsel’s oral motion to close these proceedings is granted. The transcript of theses
proceedings is placed under seal pending further order of the Court. Hearing held. Oral arguments heard.
Motion taken under submission by the Court.




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                                                             Initials of Preparer      tg


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